Case 3:11-cr-03030-LTS-KEM   Document 296   Filed 01/31/13   Page 1 of 6
Case 3:11-cr-03030-LTS-KEM   Document 296   Filed 01/31/13   Page 2 of 6
Case 3:11-cr-03030-LTS-KEM   Document 296   Filed 01/31/13   Page 3 of 6
Case 3:11-cr-03030-LTS-KEM   Document 296   Filed 01/31/13   Page 4 of 6
Case 3:11-cr-03030-LTS-KEM   Document 296   Filed 01/31/13   Page 5 of 6
Case 3:11-cr-03030-LTS-KEM   Document 296   Filed 01/31/13   Page 6 of 6
